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                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                              November 23, 2021
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 VICTORIA DIVISION

 In re:                                                  §
                                                         §   Subchapter V
 Scott Vincent Van Dyke                                  §
                                                         §   Case No. 21-60052
                         Debtor.                         §   Christopher M. Lopez


                  AGREED ORDER CONTINUING PLAN CONFIRMATION
                        HEARING AND RELATED DEADLINES
                            [RE : DOCKET NO. 66, 70, 77]

        The Debtor filed a Chapter 11 Plan on October 29, 2021 (Docket No. 66) and the Court
entered its Order Scheduling Plan Confirmation Hearing and Related Deadlines (Docket No. 70).
Creditors Eva Engelhart, Chapter 7 Trustee of the Estate of Anglo-Dutch Petroleum International,
Inc. (“Engelhart”) and Michael Noel (“Noel”) having filed a Joint Emergency Motion for
Continuance of Confirmation Hearing (Docket No. 77) and Engelhart, Noel, and Debtor
(collectively, the “Parties”) having come to an agreement,

The Court orders the following:

          1. December 10, 2021 at 5:00 p.m. (prevailing Central Time) is the deadline for filing
             ballots accepting or rejecting the Plan. All ballots must be submitted by electronic mail
             to Susan Tran at stran@ts-llp.com.

          2. December 10, 2021 at 5:00 p.m. (prevailing Central Time) is the deadline to file an
             objection to confirmation of the Plan. All objections must be filed on the docket
             through the United States District Clerk of the Court or through CM/ECF.

          3. The Court will conduct a telephonic and video hearing to consider confirmation of the
             Plan on December 15, 2021 at 1:00 p.m. (prevailing Central Time). Telephonic
             participation through dial-in (832) 917-1510 conference code 590153 and video
             participation through www.gotomeet.me/judgelopez.

          4. The Court retains jurisdiction to hear and determine all matters arising from or related
             to the implementation, interpretation, and/or enforcement of this Order.


            August 02,
            November 23,2019
                         2021Reserved for Judge’s Signature
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Agreed and entry requested:



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